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                       EXHIBIT C
                   to Declaration of Nilay Vora
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     2:21-cv-03254-RGK-MAR
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                                                                           CERTIFICATION

    I declare under penalty of perjury that I am an officer who executed this warrant and that this inventory is
    correct and was returned along with the original warrant to the designated judge through a filing with the
    Clerk's Office.

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